                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE



TOMMY GRAGG, et al.                                       )
                                                          )
                                                          )
              Plaintiffs,                                 )       Case No. 3:09-cv-1174
                                                          )       Judge Griffin
                      v.                                  )
                                                          )
AIG CENTENNIAL INSURANCE CO., et al.                      )
                                                          )
              Defendants.                                 )


                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on October 11, 2012.




                                                   KEITH THROCKMORTON, CLERK

                                                   s/ Hannah Blaney




    Case 3:09-cv-01174 Document 46 Filed 10/11/12 Page 1 of 1 PageID #: 110
